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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


United States of America,                                     Case No. 3:13CR134

                Plaintiff

                v.                                            ORDER

Robert DeBolt, et al.,

                Defendants



        This is a criminal case in which the defendant Robert DeBolt has filed a motion to suppress,

challenging seizure of a trailer and its contents. (Doc. 235). He contends that F.B.I. agents

unlawfully seized the trailer when executing a search warrant because the warrant did not include

the trailer in the list of things to be seized.

        Following a hearing on execution of the warrant, this motion became decisional.

        For the reasons that follow, I overrule defendant’s motion.

        The warrant, in addition to listing specific items of property, including, inter alia, certain

vehicles, also allowed agents to seize “motor vehicles used in the commission of the crimes alleged.”

(Doc. 235-1 at 2). The defendant’s trailer was not included within the specified list.

        The hearing established, and I find:

        •       At the time of execution of the warrant, agents had learned that the trailer had been
                used at least twice to haul stolen property from the premises to other locations;

        •       The agents did not know the trailer would be on the premises; thus, they did not have
                probable cause to list it within the list of things to be seized;
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       •       The “trailer” constituted a “motor vehicle,” despite defendant’s argument to the
               contrary; and

       •       On executing the warrant, the agents observed the trailer in plain view, and
               recognized it as having been used to transport stolen property from the premises.

(5.20.14 Hearing Tr., at 1751-53).

       As a result of what I learned during the evidentiary hearing, I find that, unquestionably,

seizure of the trailer was lawful under the clause, “motor vehicles used in the commission of the

crimes alleged.” The agents having lawfully seized the trailer, they could properly search it and seize

its contents under, at least, the inventory search doctrine. E.g., South Dakota v. Opperman, 428 U.S.

364 (1976).

       It is, accordingly, ordered that the defendant’s motion to suppress (Doc. 235) be, and the

same hereby is overruled.

       So ordered.

                                                       /s/ James G. Carr
                                                       Sr. U.S. District Judge




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